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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

     In re                                                 Chapter 11

     FTX TRADING LTD., et al.,1                            Case No. 22-11068 (JTD)

                                   Debtors.                (Jointly Administered)

                                                           Ref. No. 1121


         FIRST SUPPLEMENTAL DECLARATION OF MARK W. HANCOCK IN
           CONJUNCTION WITH THE RETENTION AND EMPLOYMENT OF
           GODFREY & KAHN, S.C. AS COUNSEL TO THE FEE EXAMINER,
                       EFFECTIVE FEBRUARY 17, 2023

         I, Mark Hancock, hereby declare under penalty of perjury:

         1.       I am a shareholder with Godfrey & Kahn, S.C. (“Godfrey & Kahn”), counsel to

the Fee Examiner in these Chapter 11 cases pursuant to the Court’s April 12, 2023 Order

Authorizing the Employment and Retention of Godfrey & Kahn, S.C. as Counsel to the Fee

Examiner (D.I. 1268). I am authorized to make this Declaration on behalf of myself and of

Godfrey & Kahn. This Declaration is based on my personal knowledge, and if called to testify, I

could and would testify competently to the written statements made in this Declaration. I submit

this Supplemental Declaration for the purpose of providing supplemental information regarding

Godfrey & Kahn’s connections with several retained professionals in this case.

         2.       On March 20, 2023, I submitted a declaration (the “Initial Declaration”) in

support of the Application of Fee Examiner for Authorization to Employ and Retain Godfrey &




1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification number is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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Kahn, S.C. as Counsel to the Fee Examiner, Effective as of February 17, 2023 [D.I. 1121 at 17-

28] (the “Retention Application”).

       3.      Since filing the Initial Declaration, Godfrey & Kahn has become aware of

additional connections to two interested parties in these cases. First, Godfrey & Kahn was

retained to serve as local Wisconsin counsel for Paul Hastings on a real estate matter unrelated to

these Chapter 11 cases. The Godfrey & Kahn attorneys staffed on that real estate matter were

not, and will not be, staffed on these Chapter 11 cases. Second, Godfrey & Kahn has been

retained to serve as local Wisconsin counsel for Sullivan & Cromwell on an appellate matter

unrelated to these bankruptcy cases. The Godfrey & Kahn attorneys staffed on that appellate

matter are not, and will not be, staffed on these Chapter 11 cases.

       4.      Based on the foregoing and the Initial Declaration and its appendices, to the best

of my knowledge and belief, insofar as I have been able to ascertain after reasonable inquiry, I

believe I am, and each member of my firm and my firm itself is, a “disinterested person” as that

term is defined in 11 U.S.C. §101(14) because:

       A.      Godfrey & Kahn is not a creditor, equity security holder, or insider of the Debtors.

       B.      Godfrey & Kahn is not and was not, within two years before the Petition Date, a

director, officer, or employee of the Debtors.

       C.      Godfrey and Kahn does not have an interest materially adverse to the interest of

the Debtors’ estate or of any class of creditors or equity security holders, by reason of any direct

or indirect relationship to, connection with, or interest in the Debtors or for any other reason.

       5.      Despite the efforts described above and in the Initial Declaration to identify and

disclose Godfrey & Kahn’s connections with parties in interest in this case, I am unable to state

with certainty that every client representation or other connection of Godfrey & Kahn has been




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disclosed. In this regard, if Godfrey & Kahn discovers additional information that requires

disclosure, I will file a supplemental disclosure with the Court.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Dated this 12th day of September 2023.

                                              GODFREY & KAHN, S.C.


                                      By:     /s/ Mark W. Hancock
                                              Mark W. Hancock




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                                 CERTIFICATE OF SERVICE

         I, Mark W. Hancock, hereby certify that on September 12, 2023, I caused a copy of the

foregoing First Supplemental Declaration of Mark W. Hancock in Conjunction with the

Retention and Employment of Godfrey & Kahn, S.C. as Counsel to the Fee Examiner, Effective

February 17, 2023 to be served upon the individuals registered to receive electronic notices via

the Court’s ECF electronic noticing system and requested Kroll provide service to the rest.

         Dated this 12th day of September 2023.

                                                            /s/ Mark W. Hancock
                                                            Mark W. Hancock




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